     Case 4:21-cv-00198-WTM-CLR Document 1 Filed 07/09/21 Page 1 of 10




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA


ROY MUNN, Individually,                      :
                                             :
            Plaintiff,                       :
                                             :
v.                                           :   Case No.
                                             :
FIFTEEN EAST RIVER STREET, LLC               :
A Domestic Limited Liability Company         :
                                             :
          Defendant.                         :
__________________________________/

                                  COMPLAINT


      Plaintiff, Roy Munn (hereinafter “Plaintiff”), hereby sues the Defendant,

Fifteen East River Street, LLC, a Domestic Limited Liability Company (hereinafter

jointly referred to as “Defendant”), for Injunctive Relief, and attorney’s fees,

litigation expenses, costs and damages pursuant to the Americans with Disabilities

Act, 42 U.S.C. §12181 et seq. (“ADA”). In support thereof, Plaintiff states:

1.    This action is brought by Roy Munn, pursuant to the enforcement provision

of the Americans With Disabilities Act of 1990 (“ADA”), 42 U.S.C. 12188(a)

against the owners and/or operators of Vic’s Bar.

2.    This Court has jurisdiction pursuant to the following statutes:


                                         1
     Case 4:21-cv-00198-WTM-CLR Document 1 Filed 07/09/21 Page 2 of 10




              a.     28 U.S.C. §1331, which governs actions that arise from the

       Defendant’s violations of Title III of the Americans with Disabilities Act, 42

       U.S.C. §12181 et seq. See also 28 U.S.C. §2201 and §2202.

              b.     28 U.S.C. §1331, which gives District Courts original

       jurisdiction over civil actions arising under the Constitution, laws or treaties

       of the United States; and

              c.     28 U.S.C. §1343 (3) and (4), which gives District Courts

       jurisdiction over actions to secure civil rights extended by the United States

       government.

3.     Venue is proper in this judicial district and division. Defendant does business

in the State of Georgia, and all of the acts of discrimination alleged herein occurred

in this judicial district and division.

                                          PARTIES

4.     Plaintiff Roy Munn is a resident of Cherokee County, Georgia, ambulates

with a cane, utilizes a service dog, and is an individual with a disability within the

meaning of ADA, 42 U.S.C. 12102(2), 28 C.F.R. 36.104.

5.     Plaintiff Roy Munn is substantially limited in performing one or more major

life activities, including but not limited to, walking unassisted and standing for long

periods.
      Case 4:21-cv-00198-WTM-CLR Document 1 Filed 07/09/21 Page 3 of 10




6.    Plaintiff Roy Munn has relatives that live in the area and frequently returns to

visit them.

7.    Plaintiff Roy Munn intends to visit family again in August 2021, wherein he

desires to return to Defendant’s property.

8.    Plaintiff Roy Munn attempted to be a patron at Vic’s Bar at 26 E Bay St,

Savannah, GA.

9.    Vic’s Bar is a place of public accommodation within the meaning of Title III

of the ADA, 42 U.S.C. 12181, 28 C.F.R. 36.104.

10.   Defendant owns, leases, leases to, or operates Vic’s Bar, and is responsible

for complying with the obligations of the ADA.

                                       COUNT I

                            VIOLATION OF THE ADA

11.   Plaintiff realleges paragraphs one (1) through ten (10) of this Complaint and

incorporates them here as if set forth in full.

12.   Plaintiff was a patron at Vic’s Bar. on or about February 25, 2021,

accompanied with his service dog.

13.   Plaintiff has returned to the property since then and has definite plans to

return the property again in August 2021, to avail himself of the goods and services
      Case 4:21-cv-00198-WTM-CLR Document 1 Filed 07/09/21 Page 4 of 10




offered to the public at the property but for the barriers in existence that deter him

from doing so.

14.   There are numerous architectural barriers present at Vic’s Bar that prevent

and/or restrict access by Plaintiff, in that several features, elements, and spaces of

Vic’s Bar are not accessible to or usable by Plaintiff, as specified in 28 C.F.R

36.406 and the Standards for Accessible Design, 28 C.F.R., Pt. 36, Appendix A

(‘the Standards”).

15.   Plaintiff, upon visiting the property, personally suffered discrimination

because of his disability.

16.   There are several elements and spaces that Plaintiff personally encountered

and which discriminated against him based upon him disability, such as:

      a.     There are no accessible tables for a disabled individual to utilize.

      b.     The bar is located too high for a disabled individual to utilize.

      c.     There is a high step at the entrance that makes it inaccessible for a

disabled individual.

      d.     The front entrance has an excessively steep slope and is inaccessible

to a disabled individual.

      e.     The elevator to the second floor is inaccessible to a disabled

individual to there being stairs.
      Case 4:21-cv-00198-WTM-CLR Document 1 Filed 07/09/21 Page 5 of 10




       f.     There are no grab bars in the public restroom for a disabled individual

to utilize.

       g.     The door to the public restroom is inaccessible to a disabled

individual due to improper hardware.

       h.     The sink in the public restroom is inaccessible to a disabled

individual.

       i.     The mirror in the public restroom is inaccessible to a disabled

individual.

17.    The discriminatory violations described in paragraph 16 of this Complaint

are not an exclusive list of the Defendants’ ADA violations. The Plaintiff has been

denied access to, and has been denied the benefits of, services, programs and

activities of the Defendant’s facilities, and has otherwise been discriminated

against and damaged by the Defendant because of the Defendant’s ADA

violations, as set forth above.

18.    The Plaintiff will continue to suffer such discrimination, injury and damage

without the immediate relief provided by the ADA as requested herein. The

Plaintiff has been denied access to, and has been denied the benefits of services,

programs and activities of the Defendants’ facilities, the opportunity to use such
      Case 4:21-cv-00198-WTM-CLR Document 1 Filed 07/09/21 Page 6 of 10




elements, and have otherwise been discriminated against and damaged by the

Defendant because of the Defendant’s ADA violations, as set forth above.

19.   Plaintiff has standing to sue for any and every barrier to access for the

mobility-impaired and for disabled individuals with service dogs that exists on the

subject premises. Roy Munn has standing to require that all barriers to access on

the property for the mobility-impaired are corrected, not merely only those Roy

Munn personally encountered.

20.   Defendant is required to not discriminate against the physically disabled and

to remove and correct any barriers to access when such removal is readily

achievable for its place of public accommodation that have existed prior to January

23, 1992, 28 CFR 36.304(a); in the alternative, if there has been an alteration to

Defendant’s place of public accommodation since January 26, 1992, then the

Defendant is required to ensure to the maximum extent feasible, that the altered

portions of the facility are readily accessible to and useable by individuals with

disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and

finally, if the Defendant’s facility is one which was designed and constructed for

first occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then

the Defendant’s facility must be readily accessible to and useable by individuals

with disabilities as defined by the ADA.
      Case 4:21-cv-00198-WTM-CLR Document 1 Filed 07/09/21 Page 7 of 10




21    The Defendant has discriminated against Plaintiff by denying him access to,

and full and equal enjoyment of, the goods, services, facilities, privileges,

advantages and/or accommodations of the buildings, as prohibited by 42 U.S.C. §

12182 et seq. and 28 CFR 36.302 et seq

22.   Defendant continues to discriminate against the Plaintiff by failing to make

reasonable modifications in policies, practices or procedures, when such

modifications are necessary to afford all offered goods, services, facilities,

privileges, advantages or accommodations to individuals with disabilities.

23.   Roy Munn has a realistic, credible, existing and continuing threat of

discrimination from the Defendants’ non-compliance with the ADA with respect to

this property as described, but not necessarily limited to, the allegations in

paragraph 16 of this Complaint. Plaintiff has reasonable grounds to believe that he

will continue to be subjected to discrimination in violations of the ADA by the

Defendants.

24.   Plaintiff is aware that it will be a futile gesture to re-visit the property until it

becomes compliant with the ADA.

25.   Plaintiff is without an adequate remedy at law and is suffering irreparable

harm. Plaintiff has retained the undersigned counsel and is entitled to recover
      Case 4:21-cv-00198-WTM-CLR Document 1 Filed 07/09/21 Page 8 of 10




attorney’s fees, costs and litigation expenses from the Defendant pursuant to 42

U.S.C. § 12205 and 28 CFR 36.505.

26.   Notice to Defendant is not required as a result of the Defendant’s failure to

cure the violations by January 26, 1992 (or January 26, 1993, if Defendant has 10

or fewer employees and gross receipts of $500,000 or less). All other conditions

precedent have been met by Plaintiffs or waived by the Defendant.

27.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

Plaintiff Injunctive Relief, including an order to require the Defendant to make the

property readily accessible and useable to the Plaintiff and all other persons with

disabilities as defined by the ADA; or by closing the facility until such time as the

Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests that this Court:

      A.     Declare that Defendant has violated title III of the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq, 28 C.F.R. pt. 36, Ga. Code Ann. §51-3-

1, and GA. Code Ann. §51-1-6.

             i.    by failing to bring Vic’s Bar. into compliance with the

             Standards where it is readily achievable to do so;
     Case 4:21-cv-00198-WTM-CLR Document 1 Filed 07/09/21 Page 9 of 10




           ii.    by failing to take other readily achievable measures to remove

           architectural barriers to access when it is not readily achievable to

           comply fully with the Standards.

     B.    Order Defendant:

           i.     to make all readily achievable alterations to the facility; or to

           make such facility readily accessible to and usable by individuals with

           disabilities to the extent required by the ADA;

           ii.    to make reasonable modifications in policies, practices or

           procedures, when such modifications are necessary to afford all offered

           goods, services, facilities, privileges, advantages or accommodations to

           individuals with disabilities.

     C.    Award attorney’s fees, costs and litigation expenses pursuant to 42

U.S.C. § 12205.
    Case 4:21-cv-00198-WTM-CLR Document 1 Filed 07/09/21 Page 10 of 10




      D.   Award damages to Plaintiff.

      E.   Order such other appropriate relief as the interests of justice may

require.

                                     Respectfully Submitted,

                                            By: /s/ Pete M. Monismith
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